Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 1 of 9 PageID #: 3367




                                          IN THE UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF TEXAS
                                                   SHERMAN DIVISION

     JUAN LOZADA-LEONI,             §
                                    §
           Plaintiff,               §
                                    §
       vs.                          §
                                    §                                                           Civil Action No. 4:20-cv-68
     MONEYGRAM INTERNATIONAL, INC., §
     and MONEYGRAM PAYMENT          §
     SYSTEMS, INC.,                 §
           Defendants.              §
                                    §
                                    §


          INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE
                            ESTABLISHED IN DKT. 143




                Comes now Kardell Law Group (KLG), Intervenor in the above referenced matter, and

   files this its MOTION FOR REVISION OF PLEADING SCHEDULE ESTABLISHED IN

   DKT. 143, and would respectfully show the court as follows:



     1.        The problem: ..................................................................................................................................... 2
     2.        Simple solution: ................................................................................................................................ 2
     3.        BACKGROUND ................................................................................................................................... 2
          a)        KLG seeks its attorney’s fees here: ............................................................................................... 2
          b)        Plaintiff’s position: no attorney’s fees owed here: ....................................................................... 3
          c)        Current pleading schedule: ........................................................................................................... 3
     4.        DISCUSSION AND ANALYSIS .............................................................................................................. 4
          a)        KLG appreciates the Court’s involvement in the above-referenced schedule: ............................ 4
          b)        Utilization of original complaint; intervenor complaint, et al, for attorney’s fees:...................... 4
               i.      Example: .................................................................................................................................... 4


   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                                                                                      Page 1 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 2 of 9 PageID #: 3368



          c)         Controlling authority; Whitaker Chalk Swindle & Sawyer, LLP v. Dart Oil & Gas Corp................. 5
               i.       Whitaker on Compulsory Counterclaims: ................................................................................. 5
               ii.      Other Texas authority on compulsory counterclaims in fee disputes: ..................................... 5
     5.        Plaintiff’s position: ............................................................................................................................ 6
     6.        Relief requested: ............................................................................................................................... 6
     7.        Efforts to informally resolve this issue; explanation for any delay................................................... 7
               i.       Example: .................................................................................................................................... 8
          a)         The point: ...................................................................................................................................... 8
     8.        Request: ............................................................................................................................................ 8



      1. The problem:


                Combining both KLG’s and Plaintiff’s pleadings currently due on 12/18/2020 potentially

   eliminates the res judicata effect of this dispute for attorney’s fees.

      2. Simple solution:


                This problem can be fixed by entering a revised order providing:

                        •     In lieu of filing its “relative position” on 12/18/2020, KLG is ordered to file its Original
                              Complaint for Attorney’s Fees on or before 12/14/2020; and
                        •     In lieu of filing its “relative position” on 12/18/ 2020, Plaintiff is ordered to file its
                              Answer to KLG’s Original Complaint for Attorney’s Fees and any Counterclaim for
                              Malpractice by 12/24/2020.

                              See ¶6; “Relief requested” infra, and also Proposed Order.



      3. BACKGROUND


                              a) KLG seeks its attorney’s fees here:


                KLG seeks its attorney’s fees for the following specific time periods, during which time

   KLG represented Plaintiff in the instant matter:



   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                                                                                        Page 2 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 3 of 9 PageID #: 3369




       •   Phase One, in connection with Plaintiff's termination from MoneyGram, starting with
           KLG’s representation of Plaintiff sometime in July of 2016, extending through roughly
           September of 2017, at which time the Department of Labor/OSHA/Sarbanes Oxley
           administrative complaint was filed herein;
       •   Phase Two, involving the various OSHA and DOL proceedings from September of 2017
           up to the removal of the case to this Court in January of 2019; and
       •   Phase Three, the proceedings herein, from January of 2019 until the KLG withdrawal (or
           termination by the client) in mid-April of 2020.
                  b) Plaintiff’s position: no attorney’s fees owed here:


           Plaintiff says no attorney’s fees at all are owed during this time period, because, inter

   alia, KLG:

       •   Breached a standard of care in the depositions of company witnesses Manuel Goico,
           Chris Ponder, John Tyson, Leah Pfeifer and John Manuel Gonzales;
       •   Breached a standard of care in representing Plaintiff at his two depositions;
       •   Failed to timely propound written discovery;
       •   Failed to timely notice other company depositions; and
       •   Failed to timely designate expert witnesses. 1


           These defenses are classic malpractice, breach-of-duty-of-care defenses.

                  c) Current pleading schedule:


           By agreement of the parties, the Court previously established the following pleading

   schedule:

       •   Both Plaintiff and KLG are to submit their relative positions by December 18,
       •   2020;
       •   Both Plaintiff and KLG are to submit their Responses to the above by January 2, 2021;
           and
       •   Both Plaintiff and KLG are to submit their Replies to the above by January 15, 2021.

           [Dkt. 143].


   1
    Monday, December 7, 2020 4:30 PM; Email from Susan Hutchison to Steve Kardell in connection with
   Plaintiff’s claims; indicating “there may be others”.

   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                              Page 3 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 4 of 9 PageID #: 3370




       4. DISCUSSION AND ANALYSIS

                  a) KLG appreciates the Court’s involvement in the above-referenced
                     schedule:


          KLG appreciates the Court’s indulgence in approving the above-referenced schedule.

          However, some additional clarification is needed on (1) whether KLG should designate

   its pleading as an Original Complaint, and (2) whether Plaintiff should be required to file a

   Compulsory Counterclaim for his malpractice defenses here;

                  b) Utilization of original complaint; intervenor complaint, et al, for
                     attorney’s fees:


           A cursory review of docket entries in litigation asserting claims to attorney’s fees

   indicates that as a procedural matter, such a dispute is usually initiated with either a “complaint”
                                                                                                     2
   or an “original complaint” or an “intervenor complaint” by the party claiming attorney’s fees.

                                 i.   Example:
          Docket entry in Williams v. Remington Arms Co., Inc., CIV.A.3:05-CV-1383D, 2008 WL

   2467015, at *4 (N.D. Tex. June 19, 2008):




   Thus, KLG asserts that its initial pleading here should be designated “KLG’s Original
   Complaint for Attorney’s Fees” or “Intervenor’s Complaint for Attorney’s Fees”.




   2
    See, e.g., Whitaker Chalk Swindle & Sawyer, LLP v. Dart Oil & Gas Corp., 408-CV-684-Y, 2009 WL
   464989, at *9 (N.D. Tex. Feb. 23, 2009);Williams v. Remington Arms Co., Inc., CIV.A.3:05-CV-1383D,
   2008 WL 2467015, at *4 (N.D. Tex. June 19, 2008); Miller Weisbrod, LLP v. Klein Frank, PC, 3:13-CV-
   2695-B, 2014 WL 2738231, at *2 (N.D. Tex. June 17, 2014); Girards v. Frank, 3:13-CV-2695-BN, 2016
   WL 454465, at *1 (N.D. Tex. Feb. 5, 2016).

   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                              Page 4 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 5 of 9 PageID #: 3371




                   c) Controlling authority; Whitaker Chalk Swindle & Sawyer, LLP v. Dart Oil
                      & Gas Corp.


          In Whitaker, Judge Means addressed almost identical procedural issues presented in the

   instant case.

          The original complaint for attorney’s fees there was initially filed in Fort Worth state

   court but removed to the Northern District on the basis of diversity jurisdiction.

                                 i.   Whitaker on Compulsory Counterclaims:


          The Whitaker case also held that it is well established under both federal and Texas law

   that a malpractice claim is a compulsory counterclaim in a suit for attorneys' fees, citing Goggin

   v. Grimes, 969 S.W.2d 135, 138 (Tex.App.-Houston [14th Dist.] 1998, no pet.):

                   Under both Texas and federal procedure, a claim is “mature” in regard to the
                   compulsory-counterclaim analysis when it accrues. See New York Life Ins. v.
                   Deshotel, 142 F.3d 873 (5th Cir.1998) (discussing maturity under Rule 13 in
                   terms of accrual of the relevant state causes of action); see also Ingersoll–Rand
                   Co. v. Valero Energy Corp., 997 S.W.2d 203, 208 (Tex.1999) ( “A claim is
                   mature [for compulsory-counterclaim purposes] when it has accrued.”). Texas
                   courts have held that the filing of a claim for attorneys' fees which may be
                   subject to avoidance due to malpractice is a sufficient injury to cause the
                   malpractice claim to accrue or mature. (Emphasis added.) See Goggin, 969
                   S.W.2d 137–38.

                   Whitaker Chalk Swindle & Sawyer, LLP v. Dart Oil & Gas Corp., 408-CV-684-
                   Y, 2009 WL 464989, at *9 (N.D. Tex. Feb. 23, 2009), citing
                   Goggin, 969 S.W.2d at 138.


                                ii.   Other Texas authority on compulsory counterclaims in fee
                                      disputes:




   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                             Page 5 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 6 of 9 PageID #: 3372




           The Goggin decision is also widely cited by other Texas state courts requiring

   compulsory counterclaims in attorney’s fee disputes. 3

   Thus, KLG asserts that Plaintiff’s initial pleading herein should be designated “Plaintiff’s
   Answer to KLG’S Original Complaint for Attorney’s Fees and Counterclaim”


       5. Plaintiff’s position:


           In indicating their objection to this suggestion, Plaintiff’s counsel utilizes a creative bit of

   sophistry, asserting that (paraphrasing) “Plaintiff’s counsel has never asserted a claim for

   malpractice”; [Plaintiff] asserts that KLG “malpracticed” and that “such malpractice precludes

   any attorney’s fees”. 4

           The undersigned suspects that Plaintiff wants to preserve a second bite of the apple in the

   form of a subsequent state court malpractice claim.

           Notwithstanding Plaintiff’s position to the contrary, 5Federal and state caselaw cited

   herein firmly indicates this cannot be done.

       6. Relief requested:




   3
    See also Flanagan v. Raborn, 01-98-00634-CV, 1999 WL 280483, at *1 (Tex. App.—Houston [1st
   Dist.] May 6, 1999, no pet.) “A claim of legal malpractice has been held to be a
   compulsory counterclaim to a claim for attorney's fees under Texas Rule of Civil Procedure 97(a),” and
   “the claim for malpractice arose from the same transaction as the intervention for attorney's fees and
   could have been brought at that time. Because Flanagan chose not to counterclaim for malpractice,
   her claim is barred by res judicata”.(Emphasis added.) citing Goggin, 969 S.W.2d at 138; and CLS
   Assocs., 762 S.W.2d at 224; see also Ogletree v. Crates, 363 S.W.2d 431, 435 (Tex.1963) (res judicata
   bars litigation of all issues connected with cause of action that might have been tried, as well as those
   actually tried, with use of diligence).
   4
     See Monday, December 7, 2020 12:16 PM; Email from Susan Hutchison to Steve Kardell.
   5
     See Monday, December 7, 2020 4:30 PM; Email from Susan Hutchison to Steve Kardell; “I don’t think
   it is a mandatory counter-claim. I think it is a defense to your claim for fees”.



   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                                    Page 6 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 7 of 9 PageID #: 3373




           To allow these issues to be clearly pled and clarified for the Court’s subsequent

   determination and resolution, KLG requests that the Court enter a revised pleading schedule

   providing:



                                                                        No surprise or hardship to
                                                                        Plaintiff because ……….
    In lieu of filing its “relative    ……..KLG is ordered to file its Under this revised
    position” on 12/ 18/ 2020          Original Complaint for           schedule, Plaintiff is put
    ………                                Attorney’s Fees on or before 12/ on notice of the
                                       14/2020.                         Complaint for Attorney’s
                                                                        Fees a full 10 days prior
                                                                        to when his new first
                                                                        submission would be due
                                                                        here.
    In lieu of filing its “relative    ……..Plaintiff is ordered to file Plaintiff is given a total of
    position” on 12/ 18/ 2020          its Answer to KLG’s Original     10 additional days to file
    ………                                Complaint for Attorney’s Fees    his new first submission
                                       and Counterclaim for             here.
                                       Malpractice by 12/ 24/ 2020.
    Both parties are excused from
    any filings currently due on
    12/18/2020.
    Both parties’ submissions                                             No change.
    currently due on 01/O2/2021
    remain due on that date.
    Both parties’ submissions                                             No change.
    currently due on 01/15/2021
    remain due on that date.



      7. Efforts to informally resolve this issue; explanation for any delay.


           Both sides have expended considerable effort here in an attempt to solve this problem

   without the Court’s involvement.




   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                               Page 7 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 8 of 9 PageID #: 3374




                              i.  Example:
          Friday, December 4, 2020 2:27 PM; Email from Steve Kardell to Susan Hutchison et al

   re Whitaker case.

                 Re: Whitaker Chalk Swindle And Sawyer LLP v Dart Oil And Gas Corp; Let me
                 know if you have any thoughts on this ...

                 The more I think about it, the simple solution here might be for us to ask the court
                 to convert the submissions due on the 18th to intervenors complaint for attorneys
                 fees and plaintiffs counter claim for malpractice. If you needed more time, I
                 wouldn’t object. Let me know what you think.

                 Sent from my iPhone

          Later during the week of 12/07/2020 it was determined that no agreement could be

   worked out here.

                 a) The point:


          The parties diligently attempted to work this out between ourselves and avoid involving

   the Court; no delay was intended.

      8. Request:


          KLG herein requests that the current Pleading Schedule be revised as indicated above.




                                                       Respectfully submitted,

                                                       /s/ Steve Kardell
                                                       Steve Kardell
                                                       Texas State Bar No.
                                                       11098400
                                                       E-mail:
                                                       skardell@kardelllawgroup.c
                                                       om
                                                       KARDELL LAW GROUP
                                                       4514 Cole Avenue, Suite


   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                           Page 8 of 9
Case 4:20-cv-00068-RWS-CMC Document 145 Filed 12/11/20 Page 9 of 9 PageID #: 3375




                                                       600
                                                       Dallas, Texas 75205
                                                       Telephone: (214) 616-4654
                                                       Facsimile: (469) 729-9926
                                                       ATTORNEY FOR INTERVENOR




                                   CERTIFICATE OF CONFERENCE

          During the week of 12/07/2020, I conferred by email with Susan Hutchison, counsel for
      Plaintiff, in the manner required under Local Rule 7(h) regarding the relief requested herein.
      Plaintiff is opposed to the relief requested herein.
                                                       /s/ Steve Kardell

                                   CERTIFICATE OF SERVICE

           I hereby certify that the foregoing document has been submitted, by electronic means, to
      all counsel of record on December 11, 2020.
                                                        /s/ Steve Kardell




   INTERVENOR KLG’S MOTION FOR REVISION OF PLEADING SCHEDULE

                                                                                           Page 9 of 9
